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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                               SOUTH BEND DIVISION

 JOHN WESLEY KIMBROUGH, III,

                                Plaintiff,               No. 3:18-cv-887-JD-MGG

                          v.                             Hon. Jon E. DeGuilio

 JOSEPH THOMPSON, et al.,

                                Defendants.

        MOTION FOR LEAVE TO TAKE THE DEPOSITION OF DJUAN EDWARDS

         Pursuant to Federal Rule of Civil Procedure 30(a)(2)(B), Plaintiff John Wesley Kimbrough,

III, respectfully moves this Court for an order granting leave to take the deposition of Djuan

Edwards (IDOC #120064). In support of this Motion, Plaintiff further states:

         1.     Djuan Edwards is confined to prison at the Indiana State Prison in Michigan City,

Indiana. Pursuant to Federal Rule of Civil Procedure 30(a)(2)(B), a party must obtain leave of the

Court to take a deposition of a person confined in prison.

         2.     Mr. Edwards has firsthand knowledge of certain allegations contained in Plaintiff’s

complaint. Specifically, Mr. Edwards witnessed the symptoms Plaintiff Kimbrough experienced

as a result of his untreated medical condition. Plaintiff’s counsel thus intends to question Mr.

Edwards about his knowledge of Plaintiff’s condition and any other relevant information he may

have.

         3.     Plaintiff’s counsel have been informed that the Indiana State Prison can

accommodate the taking of Mr. Edwards’s deposition on February 19, 2020.

         4.     Mr. Edwards has agreed to be deposed.
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       For the above reasons, Plaintiff Kimbrough respectfully requests leave of this Court to take

the deposition of Mr. Djuan Edwards.




 Dated: January 30, 2020                            Respectfully submitted,

                                                    /s/ Keri Holleb Hotaling

                                                    Keri L. Holleb Hotaling, (IL #6272431)
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                                                    Counsel to Plaintiff John Wesley Kimbrough, III




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                               CERTIFICATE OF SERVICE

       I, Keri Holleb Hotaling, certify that I caused a copy of the foregoing Motion for Leave to

Take the Deposition of Djuan Edwards to be served upon all counsel of record via e-mail through

the Court’s ECF notification system on January 30, 2020.

                                                   /s/ Keri Holleb Hotaling




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